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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                              )
DEKALB COUNTY, FULTON                         )
COUNTY, and COBB COUNTY,                      )
GEORGIA,                                      )
                                              )
                   Plaintiffs,                )
                                              )
v.                                            )    CIVIL ACTION NO.:
                                              )    1:12-CV-03640-SCJ
HSBC NORTH AMERICA HOLDINGS                   )
INC., ET AL.,                                 )
                                              )
                   Defendants.                )

         PLAINTIFF COBB COUNTY’S INITIAL DISCLOSURES

      These Initial Disclosures are based upon information presently known to

Plaintiff, and are made without prejudice to subsequent amendments hereto or to

the production during discovery, or at trial, of such additional information,

documentation, or data that are subsequently collected, discovered and/or

determined to be relevant based on the parties’ ongoing investigation and/or

evaluation of the allegations in the complaint.

      Plaintiff does not identify documents protected from disclosure by any

applicable privilege. Nor does Plaintiff waive the right to object to Defendants’

discovery requests on any basis. Plaintiff expressly reserves the right to amend or
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supplement these Initial Disclosures. Indeed, because Plaintiff has been advised

that Defendants intend to seek bifurcated discovery and an extension of time to

serve initial disclosures, Plaintiff will supplement this disclosure at the appropriate

time.

        Plaintiff provides its initial disclosures under Federal Rule of Civil

Procedure 26(a) and Civil Local Rule 26.1 as follows:

      (1) State precisely the classification of the cause of action being filed, a
brief factual outline of the case including plaintiff’s contentions as to what
defendants did or failed to do, and a succinct statement of the legal issues in
the case.

        Plaintiffs are several county governments within the Atlanta, Georgia,

Metropolitan Statistical Area (“MSA”). Defendants are various entities owned

and/or operated by defendant HSBC North America Holdings Inc. (collectively,

“HSBC”).

        This action seeks damages and injunctive relief for defendants’ alleged

violations of Sections 804 and 805 of the Fair Housing Act (“FHA”), 42 U.S.C.

§§3604 & 3605, arising from defendants’ alleged continuing, predatory and

discriminatory “equity stripping” scheme that involved the “steering” and targeting

of minority borrowers in Plaintiffs’ communities for predatory and high cost

mortgage loans, including through “reverse redlining.”

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      Plaintiffs allege that HSBC, through, its various subsidiaries and operating

entities, originated or funded predatory high cost, subprime, and/or ALT-A

mortgage loans (including primary, secondary and home equity loans) within

Plaintiffs’ communities, securitized and sold many of those loans, and continued to

service such loans, earning fees from each of these activities. The complaint

alleges that HSBC intentionally targeted and/or steered FHA protected minority

homeowners (predominantly African-American and Hispanic homeowners) for

such mortgage loans on terms more unfavorable (e.g., increased interest rates,

points, and fees) than similar loans made to Caucasian borrowers, and without

regard to minority borrowers’ ability to repay such loans. The complaint further

alleges that, through company-wide policies and practices, HSBC incentivized its

employees (and third party lenders that HSBC provided wholesale funding for) to

make such loans to minorities while knowing that many of the loans were destined

to fail because of the high cost and predatory terms of the loans themselves, and

HSBC’s wilfully lax underwriting practices.      The complaint also alleges that

HSBC engaged in a variety of activities that concealed its predatory lending and

servicing practices, including the circumvention of Plaintiffs’ public lien holder

recording processes. Finally, Plaintiffs allege that their communities were damaged

as a result of the inevitable foreclosures and abandonment of homes where HSBC
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made or serviced predatory mortgage loans, as these are the last elements of

HSBC’s “equity striping” scheme.

       The primary legal issues in the case are:

   •   Whether HSBC operated as a single and common enterprise, through various
       corporate entities and based on centralized marketing, underwriting and
       credit policies, to implement and conduct its predatory, discriminatory,
       equity stripping mortgage lending scheme?;

   •   Whether HSBC’s predatory, high cost, mortgage lending and mortgage loan
       servicing activities, including its foreclosure practices, constitute a pattern or
       practice of discriminatory conduct and a continuing violation of federal
       law?; and

   •   Whether HSBC’s acts, policies, and practices relating to its alleged
       predatory, high cost, mortgage lending and mortgage loan servicing activities
       violated provisions of the Fair Housing Act set forth in 42 U.S.C. § 3604(a)
       & (c), and 42 U.S.C. § 3605.

      (2) Describe in detail all statutes, codes, regulations, legal principles,
standards and customs or usages, and illustrative case law which plaintiff
contends are applicable to this action.

       Among other things, Plaintiff's allegations invoke the following statutes,

doctrines and illustrative case law:

   •   42 U.S.C. § 3604(a) & (c);
   •   42 U.S.C. § 3605;
   •   Gladstone Realtors v. Village of Bellwood, 441 U.S. 91 (1979);
   •   Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992);
   •   Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252 (1977);
   •   Hargraves v. Capital City Mortgage Corp., 140 F.Supp. 2d 7 (D. D.C.
       2000);
   •   Trafficante v. Metro. Life Ins. Co., 409 U.S. 205 (1972);
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•   Steed v. EverHome Mortg. Co., 477 F. App'x 722 (11th Cir. 2012);
•   Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982);
•   Cleveland v. Sec'y of Treasury, 407 F. App'x 386 (11th Cir. 2011);
•   Provisions of the Code of Federal Regulations interpreting the Fair Housing
    Act, including 24 C.F.R. §100.120
•   42 U.S.C. §3613;
•   Options Ctr. for Indep. Living v. G & V Dev. Co., 229 F.R.D. 149 (C.D. Ill.
    2005);
•   Samaritan Inns, Inc. v. Dist. of Columbia, 114 F.3d 1227 (D.C. Cir. 1997);
•   The continuing violation doctrine;
•   Barrett v. H & R Block, Inc., 652 F.Supp. 2d 104 (D. Mass. 2009);
•   Ramirez v. GreenPoint Mortg. Funding, Inc., 633 F. Supp. 2d 922 (N.D.
    Cal. 2008);
•   Miller v. Countrywide Bank, N.A., 571 F.Supp. 2d 251 (D. Mass. 2008);
•   Taylor v. Accredited Home Lenders, Inc., 580 F.Supp. 2d 1062 (S.D. Cal.
    2008)
•   Fair Housing Council, Inc. v. Village of Olde St. Andrews, 210 Fed. Appx.
    469 (6th Cir. 2006);
•   Nat'l Fair Housing Alliance v. A.G. Spanos Constr., Inc., 542 F. Supp. 2d
    1054 (N.D.Cal.2008);
•   Equal Rights Ctr. v. Camden Prop. Trust, CIV. PJM07-2357, 2008 WL
    8922896 at *8-10 (D. Md. Sept. 22, 2008);
•   Smith v. City of Jackson, 544 U.S. 228 (2005);
•   Hallmark Developers, Inc. v. Fulton County, GA, 466 F.3d 1276 (11th Cir.
    2006);
•   Guerra v. GMAC LLC, No. 08-CV-1297, 2009 WL 449153, *2-5 (E.D. Pa.
    Feb. 20, 2009);
•   Laufman v. Oakley Bldg. & Loan Co., 408 F. Supp. 489 (S.D. Ohio 1976);
•   Sec'y, U.S. Dept. of Hous. & Urban Dev., on Behalf of Herron v. Blackwell,
    908 F.2d 864 (11th Cir. 1990);
•   Ring v. First Interstate Mortg., Inc., 984 F.2d 924 (8th Cir. 1993);
•   Texas Dep't. of Community Affairs v. Burdine, 450 U.S. 248 (1981);
•   Lincoln v. Case, 340 F.3d 283 (5th Cir. 2003);
•   Tyus v. Urban Search Management, 102 F.3d 256 (7th Cir 1996);
•   Davis v. Lane Mgmt., LLC, 524 F. Supp. 2d 1375 (S.D. Fla. 2007);
•   Smith v. Wade, 461 U.S. 30, 51 (1983)), rehg’ denied, cert. denied, 520 U.S.
    1251 (1997);
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   •   Ferrill v. Parker Group, Inc. 168 F.3d 468 (11th Cir.1999);
   •   The doctrine of equitable tolling;
   •   Holmberg v. Armbrecht, 327 U.S. 392 (1945);
   •   Morton's Mkt., Inc. v. Gustafson's Dairy, Inc., 198 F.3d 823 (11th Cir. 1999)
       amended in part, 211 F.3d 1224 (11th Cir. 2000);
   •   Price v. Countrywide Home Loans, Inc., No. CV205-015, 2005 WL
       2354348 (S.D. Ga. Sept. 26, 2005);
   •   Barkley v. Olympia Mortgage, Co., Nos. 04 CV 875, et al, 2007 WL
       2437810, at *16-17 (E.D. N.Y. Aug. 22, 2007); and
   •   Garcia v. Copenhaver, Bell & Associates, M.D.'s, P.A., 104 F.3d 1256 (11th
       Cir. 1997).

       (3) Provide the name and, if known, the address and telephone number
of each individual likely to have discoverable information that you may use to
support your claims or defenses, unless solely for impeachment, identifying
the subjects of the information. (Attach witness list to Initial Disclosures as
Attachment A.)

       The individuals likely to have discoverable information to support Plaintiff’s

liability and damage claims include the employees, managers and officers

employed by HSBC’s various operating entities, as well as the department heads or

their designees in each of the following departments or political subdivisions of

Plaintiff to the extent such department exists: Clerk of Superior Court, Code

Enforcement, County Manager/CEO, Economic Development, Finance, Fire,

Geographic Information Services, Housing Authority, Police, Tax Commissioner,

Tax Appraiser, Tax Assessor, and Water & Sewer Authority. The identification of

the individual department heads and their addresses are publicly available.



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However, each such individual should be contacted through Plaintiff’s counsel at

the address listed below.

       (4) Provide the name of any person who may be used at trial to present
evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. For
all experts described in Fed. R. Civ. P. 26(a)(2)(B), provide a separate written
report satisfying the provisions of that rule. (Attach expert witness list and
written reports to Responses to Initial Disclosures as Attachment B.)

      Plaintiff will offer expert testimony on liability and damages in support of

their claims. Because this action is still at the pleading stage, it is premature at this

time to provide the names of experts, or the substance of their opinions.

      (5) Provide a copy of, or a description by category and location of, all
documents, data compilations, and tangible things in your possession, custody,
or control that you may use to support your claims or defenses unless solely
for impeachment, identifying the subjects of the information. (Attach
document list and descriptions to Initial Disclosures as Attachment C.)

      Documents and materials relevant to this action that are in the possession,

custody or control of Plaintiff includes various business records and public records,

including records in both hard copy and electronic form, maintained by Plaintiff’s

various departments and/or political subdivisions identified above.             Plaintiff

expects to gather and produce substantial documentation in discovery.

       (6) In the space provided below, provide a computation of any category
of damages claimed by you. In addition, include a copy of, or describe by
category and location of, the documents or other evidentiary material, not
privileged or protected from disclosure, on which such computation is based,
including materials bearing on the nature and extent of injuries suffered,
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making such documents or evidentiary material available for inspection and
copying as under Fed. R. Civ. P. 34. (Attach any copies and descriptions to
Initial Disclosures as Attachment D.)

      Plaintiff estimates that the damages due to Defendant’s alleged wrongdoing

injured Plaintiffs in excess of $100 million. Plaintiff also seeks punitive damages,

attorneys’ fees, and costs as may be allowed pursuant to the provisions of the Fair

Housing Act. The support for these damages are within the documents, e.g., hard

copy and electronic business records, maintained by Plaintiffs and Defendants, and

also will be supported by expert testimony.

       (7) Attach for inspection and copying as under Fed. R. Civ. P. 34 any
insurance agreement under which any person carrying on an insurance
business may be liable to satisfy part or all of a judgment which may be
entered in this action or to indemnify or reimburse for payments made to
satisfy the judgment. (Attach copy of insurance agreement to Initial
Disclosures as Attachment E.)

      Not applicable.

       (8) Disclose the full name, address, and telephone number of all persons
or legal entities who have a subrogation interest in the cause of action set forth
in plaintiff’s cause of action and state the basis and extent of such interest.

      None known.

      Dated: November 22, 2013

                                 Respectfully submitted,

                                 By: /s/ James M. Evangelista
                                 Jeffrey R. Harris (GA Bar 330315)
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this day I served the above and foregoing

PLAINTIFF COBB COUNTY’S INITIAL DISCLOSURES on all parties by

causing a true and correct copy to be filed with the court’s electronic filing system,

which should automatically send a copy to all counsel of record.


      Dated: November 22, 2013                /s/ James M. Evangelista
                                              James M. Evangelista




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